                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    SOUTHERN DIVISION

  IN RE: ESTATE OF OMA E. GRIFFITH,                     )
                                                        )
                                  Deceased,             )
                                                        )
  DEBORAH HOOPER,                                       )
                                                        )
                                  Plaintiff,            )      CIVIL ACTION NO.:
  v.                                                    )      1:14-CV-00231
                                                        )
  UNDERWRITERS AT LLOYD’S                               )
  750 7th Avenue, New York, New York                    )
  10019 and ATLANTIC SPECIALTY                          )
  LINES OF VIRGINIA, LLC, 9020                          )
  Stony Point Parkway, Suite 450                        )
  Richmond, Virginia 23235                              )
                                                        )
                                  Defendants.           )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

            Plaintiff In re: Estate of Oma E. Griffith and Deborah Hooper (“Plaintiff”), through her

  counsel, and Defendants, Certain Underwriters at Lloyd’s, London subscribing to Policy No.

  AS201VA439743-0 (improperly named in the Complaint as “Underwriters at Lloyd's”) and

  Atlantic Specialty Lines of Virginia, LLC (“ASL-VA,” collectively “Defendants”), through their

  undersigned counsel, file this Stipulation of Dismissal With Prejudice as to all Defendants in this

  action.

            The parties have agreed and stipulated that any existing or potential claims against

  Defendants in the above-captioned matter are extinguished and all Defendants have been fully

  released therefrom. The parties further show that no summary judgment motion or counterclaim

  has been asserted or plead by any adverse party prior to the service of this notice of dismissal.




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         Furthermore, all parties have agreed to bear their own costs and attorneys’ fees. Pursuant

  to Rule 41 of the Federal Rules of Civil Procedure, the parties submit a proposed Stipulated

  Order of Dismissal contemporaneously herewith dismissing this action with prejudice as to all

  Defendants.

         Respectfully submitted this 29th this day of August 2014.


  COZEN O'CONNOR                                   CAMERON & CAMERON, P.C.

  s/Stacey S. Farrell                              s/J. Harvey Cameron
  Kenan G. Loomis                                  J. Harvey Cameron (with express permission)
  Admission to Court and Pro Hac Vice              Tennessee Bar No. 2465
  Motion Pending                                   Post Office Box 759
  Tennessee Bar No. 026150                         28 Courthouse Square, Suite 100
  Stacey S. Farrell                                Jasper, TN 37347
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  Counsel for Defendants Certain Underwriters
  at Lloyd’s, London subscribing to Policy No.
  AS201VA439743-0 and Atlantic Specialty
  Lines of Virginia, LLC




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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    SOUTHERN DIVISION

  IN RE: ESTATE OF OMA E. GRIFFITH,                     )
                                                        )
                                 Deceased,              )
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  DEBORAH HOOPER,                                       )
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                                 Plaintiff,             )       CIVIL ACTION NO.:
  v.                                                    )       1:14-CV-00231
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  UNDERWRITERS AT LLOYD’S                               )
  750 7th Avenue, New York, New York                    )
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  LINES OF VIRGINIA, LLC, 9020                          )
  Stony Point Parkway, Suite 450                        )
  Richmond, Virginia 23235                              )
                                                        )
                                 Defendants.            )

                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2014, I electronically filed the STIPULATION OF

  DISMISSAL WITH PREJUDICE with the Clerk of Court using the CM/ECF system which

  will send notification of such filing to all attorneys of record via electronic mail upon:

                                       J. Harvey Cameron, Esq.
                                      Cameron & Cameron, P.C.
                                   28 Courthouse Square, Suite 100
                                              P.O. Box 759
                                           Jasper, TN 37347
                                             (423) 942-9975
                                            jhcam@aol.com

         This 29th day of August 2014.

                                                        s/Stacey S. Farrell
                                                        Stacey S. Farrell
                                                        Admitted Pro Hac Vice
                                                        Georgia Bar No. 255877
                                                        Cozen O’Connor
                                                        The Promenade, Suite 400
                                                        1230 Peachtree Street, NE


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